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                                UNITED STATES DISTRICT COURT W. D. OF WASHINGTON AT TACOMA

 1
         UNITED STATES OF AMERICA,
                                              Plaintiff,                       Case No.   MJ13-5233
 2
                           v.
                                                                               DETENTION ORDER
 3
         FRANCISCO RODRIGUEZ-PEREZ,
 4
                                              Defendant.
 5

 6
              THE COURT, having conducted a detention hearing pursuant to 18 U.S.C. §3142, finds that no condition or combination of
     conditions which defendant can meet will reasonably assure the appearance of the defendant as required and/or the safety of any
 7
     other person and the community.
 8
               This finding is based on 1) the nature and circumstances of the offense(s) charged, including whether the offense is a crime
     of violence or involves a narcotic drug; 2) the weight of the evidence against the person; 3) the history and characteristics of the
 9
     person including those set forth in 18 U.S.C. § 3142(g)(3)(A)(B); and 4) the nature and seriousness of the danger release would impose
     to any person or the community.
10

                                           Findings of Fact/ Statement of Reasons for Detention
11
     Presumptive Reasons/Unrebutted:
     ( )    Conviction of a Federal offense involving a crime of violence. 18 U.S.C.§3142(f)(A)
12
     ( )    Potential maximum sentence of 10+ years as prescribed in the Controlled Substances Act (21 U.S.C.§801 et seq.), the
            Controlled Substances Import and Export Act (21 U.S.C.§951 et seq.) Or the Maritime Drug Law Enforcement Act (46
13
            U.S.C. App. 1901 et seq.)
14
     Safety Reasons:
      ( )     Defendant is currently on probation/supervision resulting from a prior offense.
15
      ( )     Defendant was on bond on other charges at time of alleged occurrences herein.
      ( )     Defendant’s prior criminal history.
16

     Flight Risk/Appearance Reasons:
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      ( )     Defendant’s lack of sufficient ties to the community.
      ( )     Bureau of Immigration and Customs Enforcement detainer.
18
      ( )     Detainer(s)/Warrant(s) from other jurisdictions.
19
     Other:
     (X)      Defendant stipulated to detention without prejudice and for reasons contained in the Government’s Motion for Detention.
20

                                                              Order of Detention
21

     <        The defendant shall be committed to the custody of the Attorney General for confinement in a corrections facility separate,
22
              to the extent practicable, from persons awaiting or serving sentences or being held in custody pending appeal.
     <        The defendant shall be afforded reasonable opportunity for private consultation with counsel.
23
     <        The defendant shall on order of a court of the United States or on request of an attorney for the Government, be delivered
              to a United States marshal for the purpose of an appearance in connection with a court proceeding. THIS ORDER IS
24
              ENTERED WITHOUT PREJUDICE TO REVIEW.
25
     <                                                                November 4, 2013.
26

27
     <
                                                                      A
                                                                      J. Richard Creatura
28
                                                                      United States Magistrate Judge
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     DETENTION ORDER
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